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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 1:22-CR-20152-MOORE

  UNITED STATES OF AMERICA

         vs.

   ELIZABETH HERNANDEZ

                         Defendant
                                             /

                                          WITNESS LIST

         The United States anticipates calling the below individuals to testify in the trial of the

  above-captioned matter, and reserves its right to call any witness identified by the Defendant, and

  any witness in rebuttal.

     1. Maria Aleu

     2. Susan Bryan

     3. Alice Collins

     4. Michael Degnan (financial analyst)

     5. Pamela Edwin

     6. Richard Epstein

     7. Michael Stein

     8. Antonio Gousgounis

     9. Dr. Robert Hoover

     10. Steven Kahn

     11. Patricia Keys

     12. Joanna Ledesma



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     13. Dr. Anthony Magliocco

     14. Michael Nolan

     15. Stephen Quindoza

     16. Robin Sheehan (HHS Analyst)

     17. William Stewart (Or similarly-situated FBI Agent)

     18. Monique Thomas

     19. Becky Whittemore

     20. John Whittemore

  Dated: September 7, 2023                                   Respectfully submitted,

                                                    MARKENZY LAPOINTE
                                                    UNITED STATES ATTORNEY

                                                    GLENN S. LEON
                                                    CHIEF, FRAUD SECTION
                                                    CRIMINAL DIVISION
                                                    U.S. DEPARTMENT OF JUSTICE

                                             By:    /s/ Katherine Payerle
                                                    Katherine Payerle
                                                    Assistant Chief
                                                    Florida Special Bar No. A5502190
                                                    United States Department of Justice
                                                    Criminal Division, Fraud Section
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                                 CERTIFICATE OF SERVICE

        I, Katherine Payerle, hereby certify that on September 7, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF.



                                              By:     /s/ Katherine Payerle
                                                      Katherine Payerle
                                                      Assistant Chief
                                                      Florida Special Bar No. A5502190
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